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                        IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TEXAS
                                 SHERMAN DMSION

  THE STATE OF TEXAS, ET AL.              §
                                          §
                                          §
  v.                                      §           CIVIL NO. 4:2o·CV·957·SDJ
                                          §
                                          §
  GOOGLELLC                               §


                            ORDER OF SPECIAL MASTER

       The Special Master will conduct discovery hearings in the above-captioned

 case. It is ORDERED that the hearings will take place at 10:00 a.m. Central Time on

 the following dates:

           •   February 22, 2024 (remote)

           •   March 7, 2024 (remote)

           •   March 21, 2024 Cin person following status conference with the Com·t)

           •   April 4, 2024 (remote)

          •    April 18, 2024 (in person following status confe1·ence with the Court)

          •    May 2, 2024 (remote)

          •    May 16, 2024 (in person following status conference with the Court)

       It is further ORDERED that Counsel for the parties shall appear in person at

 the United States Courthouse located at 7940 Preston Road in Plano, Texas following

 the status conferences with the Court as noted above. These hearings before the

 Special Master will take place in the Jury Assembly Room. The other hearings set in

 this Order shall be held via remote teleconferencing means, absent further order.
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 Signed this 12th day of February, 2024.


                                            David T. Moran
                                            Special Master
                                            TXBN: 14419400
                                            JACKSON WALKER LLP
                                            2323 Ross Avenue, Suite 600
                                            Dallas, Texas 75201
                                            Telephone: (214) 953-6051
                                            E-mail: dmoran@jw.com




                             CERTIFICATE OF SERVICE
       The undersigned certifies that the foregoing Order of Special Master was filed

 electronically in compliance with Local Rule CV·5{a) on this 12th day of February 2024.

 As such, this document was served on all counsel who are deemed to have consented

 to electronic service. Local Rule CV·5(a)(3)(A)

                                               ~~
                                            David T. Moran




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